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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                Plaintiff,                         )
                                                   )
        v.                                         )
                                                   )           Civil Action No. 18-3015
 ONE PAINTING ENTITLED “SECRET                     )
 DEPARTURE OF IVAN THE TERRIBLE                    )
 BEFORE THE OPRICHINA,”                            )
                                                   )
                Defendant.                         )
                                                   )

                 VERIFIED COMPLAINT FOR FORFEITURE IN REM

       COMES NOW, Plaintiff the United States of America, by and through the United States

Attorney for the District of Columbia, and brings this Verified Complaint for Forfeiture in Rem

against the defendant property, namely: one oil painting entitled “Secret Departure of Ivan the

Terrible Before the Oprichina” by Mikhail N. Panin (the “Defendant Property”), which is depicted

in Attachment A. The United States alleges as follows in accordance with Rule G(2) of the Federal

Rules of Civil Procedure, Supplemental Rules for Admiralty or Maritime Claims and Asset

Forfeiture Actions:

                              THE DEFENDANT PROPERTY

       1.     The Defendant Property is a Mikhail N. Panin oil painting entitled “Secret

Departure of Ivan the Terrible Before the Oprichina.” The Defendant Property is in the possession

of the Federal Bureau of Investigation (“FBI”).

                 NATURE OF ACTION AND THE DEFENDANT IN REM

       2.     This in rem forfeiture action arises out of an investigation by the FBI into the theft

of the Defendant Property stolen during the Second World War. The Defendant Property was
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subsequently transported in interstate commerce in violation of 18 U.S.C. § 2314 (Interstate

Transportation of Stolen Property) and 18 U.S.C. § 2315 (Possession of Stolen Goods).

        3.      The Defendant Property is subject to forfeiture pursuant to 18 U.S.C.

§ 981(a)(1)(C) as property constituting or derived from the proceeds of the interstate transportation

of stolen property and possession of stolen goods and 28 U.S.C. § 2461, which constitutes or is

derived from proceeds traceable to a violation of 18 U.S.C. §§ 2314 and 2315.

                                  JURISDICTION AND VENUE

        4.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1345 and 1355.

These statutes confer original jurisdiction to district courts of all civil actions, suits, or proceedings

commenced by the United States and any action for the forfeiture of property incurred under any

act of Congress.

        5.      Venue is proper pursuant to 28 U.S.C. § 1355(b)(1)(A) because acts or omissions

giving rise to the forfeiture occurred within the District of Columbia.

                           FACTS GIVING RISE TO FORFEITURE

I.      Exchange of the Defendant Property

        6.      Person 1 and Person 2 are a married couple residing in Maine. In 1987, Person 1

purchased a home in Ridgefield, Connecticut.             The Defendant Property, which measures

approximately 7.5 feet by 8.5 feet, conveyed with the home.

        7.      Owner 1 purchased the home from a married couple, Person 3 and Person 4, who

had purchased the home in 1962 from Person 5.

        8.      At the time of the 1962 conveyance of the home, the Defendant Property conveyed

with the house from Person 5 to Person 3 and Person 4.

        9.      Person 5 was a Swiss citizen who emigrated to the United States in 1946. After

purchasing the home from Person 5 in 1962, Person 3 and Person 4 located a certificate in the attic


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of the house commemorating Person 5’s service in the Swiss Army during the Second World War.

Person 5 passed away in 1986.

       10.     In 2017, Person 1 and Person 2 consigned the Defendant Property for auction.

II.    Attempted Sale of the Defendant Property

       11.     In 2017, the Defendant Property traveled to the Washington, D.C. metropolitan area

for the attempted sale of the Defendant Property. Person 1 and Person 2 hired a company to

transport the Defendant Property due to the size and physical condition of the painting.

       12.     The Defendant Property was scheduled to be auctioned on November 18, 2017 and

was published in the auction’s house catalogue.

       13.     On November 17, 2017, an employee of the auction house received an email from

the Dnepropetrovsk State Art Museum. The email stated, in part:

       Attention! Painting “Ivan the Terrible” was in the collection of the Dnepropetrovsk Art
       Museum until 1941 and was stolen during the Second World War. The museum
       documentation confirms this fact. Please stop selling this painting at auction!!! According
       the international rules of restitution of stolen works of art, the picture should return to
       Ukraine.

       14.     On December 29, 2017, the auction house received a further email from the

Director of the Dnepropetrovsk State Art Museum stating, in part:

       The painting of Mikhail Panin (1877-1963) “Ivan the Terrible” dated of 1911 was a
       diploma work of the artist, was transferred from the St. Petersburg Academy of Arts in
       1913 to the collection of Ekaterinoslav City Art Museum (today the Dnepropetrovsk Art
       Museum), was among the 64 exhibits that compiled the first museum exposition in 1914,
       was exhibited at the permanent exhibition of the museum until 1941 and disappeared
       during the occupation of the city during the Second World War. We have black-white
       photos and documents of the museum’s funds [sic].

       15.     Law enforcement obtained records from the Embassy of Ukraine in Washington,

D.C., which provided supporting documentation regarding the authenticity of the Defendant

Property.




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        16.       Law enforcement subsequently seized the defendant property for violations of the

above statutes.

        17.       Law enforcement has contacted Person 1 and Person 2 regarding the sale of the

Defendant Property. Person 1 and Person 2 have agreed to waive any claim to the Defendant

Property, and have agreed that it should be returned to the Government of Ukraine.

                               FIRST CLAIM FOR RELIEF
                                  (18 U.S.C. § 981(A)(1)(C))
      (Proceeds of the Interstate Transportation of Stolen Property, 18 U.S.C. § 2314)

        18.       The United States incorporates by reference the allegations set forth in Paragraphs

1 to 17 above as if fully set forth herein.

        19.       The Defendant Property, which was valued at more than $5,000, was transported

in interstate commerce after it had been stolen, in violation of 18 U.S.C. § 2314.

        20.       As such, the Defendant Property is subject to forfeiture, pursuant to 18 U.S.C.

§ 981(a)(1)(C), as property constituting or derived from proceeds of the interstate transportation

of stolen property.

                                SECOND CLAIM FOR RELIEF
                                    (18 U.S.C. § 981(A)(1)(C))
                    (Proceeds of Possession of Stolen Goods, 18 U.S.C. § 2315)

        21.       The United States incorporates by reference the allegations set forth in Paragraphs

1 to 17 above as if fully set forth herein.

        22.       The Defendant Property, which was valued at more than $5,000, was possessed

after it had been stolen and after it had been moved across state boundaries, in violation of 18

U.S.C. § 2315.




                                                   4
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         23.    As such, the Defendant Property is subject to forfeiture, pursuant to 18 U.S.C.

§ 981(a)(1)(C), as property constituting or derived from proceeds of the possession of stolen

goods.

                                THIRD CLAIM FOR RELIEF
                                    (19 U.S.C. § 1595(C)(1))
                           (Unlawful Importation, 19 U.S.C. § 1595(c))

         24.    The United States incorporates by reference the allegations set forth in Paragraphs

1 to 17 above as if fully set forth herein.

         25.    The Defendant Property is merchandise that was introduced into the United States

contrary to law.

         26.    As such, the Defendant Property is subject to forfeiture, pursuant to 19 U.S.C.

§ 1595(c)(1).

                                                ***




                                                 5
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                                    PRAYER FOR RELIEF

       WHEREFORE, the United States of America prays that notice issue on the Defendant

Property as described above; that due notice be given to all parties to appear and show cause why

the forfeiture should not be decreed; that a warrant of arrest in rem issue according to law; that

judgment be entered declaring that the Defendant Property be forfeited for disposition according

to law; and that the United States of America be granted such other relief as this Court may deem

just and proper, together with the costs and disbursements of this action.


Dated: December 20, 2018

                                              Respectfully submitted,

                                              JESSIE K. LIU, D.C. Bar No. 472845
                                              United States Attorney

                                      By:           /s/
                                              ZIA M. FARUQUI, D.C. Bar No. 494990
                                              ARVIND K. LAL, D.C. Bar No. 389496
                                              BRIAN HUDAK, N.Y. Bar

                                              Assistant United States Attorneys
                                              555 Fourth Street, NW
                                              Washington, DC 20530
                                              (202) 252-7117

                                              Attorneys for the United States of America




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                                       VERIFICATION

       I, Marc Hess, a Special Agent with the Federal Bureau of Investigation, declare under

penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing Verified Complaint for

Forfeiture In Rem is based upon reports and information known to me and/or furnished to me by

other law enforcement representatives and that everything represented herein is true and correct.


Executed on this __20th___ day of December, 2018.



___/s/______________________________
Marc Hess
Special Agent
Federal Bureau of Investigation




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                      Attachment A




                Painting as it appears today




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Painting as it appeared in Dnepropetrovsk State Art Museum circa 1929




                                 9
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Painting as it appeared in Dnepropetrovsk State Art Museum circa 1929




                                 10
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                                                               CIVIL COVER SHEET
JS-44 (Rev. 5/12 DC)
I. (a) PLAINTIFFS                                                                DEFENDANTS
United States of America                                                        ONE PAINTING ENTITLED “SECRET DEPARTURE OF
                                                                                IVAN THE TERRIBLE BEFORE THE OPRICHINA,”


(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________            COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                       NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

(c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                         ATTORNEYS (IF KNOWN)

Zia M. Faruqui, Assistant U.S. Attorney                                        Unknown
U.S. Attorney's Office for the District of Columbia
555 Fourth Street, N.W.
Washington, D.C. 20530
II. BASIS OF JURISDICTION                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
    (PLACE AN x IN ONE BOX ONLY)                                   PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
                                                                                          PTF    DFT                                                        PTF           DFT
o    1 U.S. Government       o   3 Federal Question
       Plaintiff                  (U.S. Government Not a Party)    Citizen of this State        o1 o1                Incorporated or Principal Place        o4 o4
                                                                                                                     of Business in This State
o    2 U.S. Government       o   4 Diversity                       Citizen of Another State     o2 o2                Incorporated and Principal             o5 o5
       Defendant                   (Indicate Citizenship of
                                                                                                                     Place of Business in This State
                                   Parties in item III)            Citizen or Subject of a
                                                                   Foreign Country
                                                                                                o3 o3                Foreign Nation                         o6 o6
                                              IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
o    A. Antitrust        o   B. Personal Injury/                       o     C. Administrative Agency                         o     D. Temporary Restraining
                                Malpractice                                     Review                                                 Order/Preliminary
     410 Antirust                                                                                                                      Injunction
                             310 Airplane                                    151 Medicare Act
                             315 Airplane Product Liability                                                                   Any nature of suit from any category
                             320 Assault, Libel & Slander              Social Security
                                                                                                                              may be selected for this category of case
                                                                            861 HIA (1395ff)
                             330 Federal Employers Liability                                                                  assignment.
                                                                            862 Black Lung (923)
                             340 Marine
                                                                            863 DIWC/DIWW (405(g))                            *(If Antitrust, then A governs)*
                             345 Marine Product Liability
                                                                            864 SSID Title XVI
                             350 Motor Vehicle
                                                                            865 RSI (405(g))
                             355 Motor Vehicle Product Liability
                                                                       Other Statutes
                             360 Other Personal Injury
                                                                            891 Agricultural Acts
                             362 Medical Malpractice
                                                                            893 Environmental Matters
                             365 Product Liability
                                                                            890 Other Statutory Actions (If
                             367 Health Care/Pharmaceutical
                                                                                Administrative Agency is
                                 Personal Injury Product Liability
                                                                                Involved)
                             368 Asbestos Product Liability


o    E. General Civil (Other)                                 OR             o     F. Pro Se General Civil
Real Property                         Bankruptcy                                   Forfeiture/Penalty
     210 Land Condemnation                422 Appeal 27 USC 158                         625 Drug Related Seizure of                   480 Consumer Credit
     220 Foreclosure                      423 Withdrawal 28 USC 157                         Property 21 USC 881                       490 Cable/Satellite TV
     230 Rent, Lease & Ejectment                                                        690 Other                                     850 Securities/Commodities/
     240 Torts to Land                Prisoner Petitions                                                                                  Exchange
     245 Tort Product Liability            535 Death Penalty                                                                          896 Arbitration
     290 All Other Real Property           540 Mandamus & Other                    Other Statutes                                     899 Administrative Procedure
                                           550 Civil Rights                            375 False Claims Act                               Act/Review or Appeal of
Personal Property                          555 Prison Conditions                       400 State Reapportionment                          Agency Decision
    370 Other Fraud                        560 Civil Detainee – Conditions             430 Banks & Banking                            950 Constitutionality of State
    371 Truth in Lending                       of Confinement                          450 Commerce/ICC                                   Statutes
    380 Other Personal Property                                                            Rates/etc.                                 890 Other Statutory Actions
         Damage                       Property Rights                                  460 Deportation                                    (if not administrative agency
    385 Property Damage                   820 Copyrights                               462 Naturalization                                 review or Privacy Act)
         Product Liability                830 Patent                                       Application
                                          840 Trademark                                465 Other Immigration
                                                                                           Actions
                                      Federal Tax Suits                                470 Racketeer Influenced
                                          870 Taxes (US plaintiff or
                                                                                           & Corrupt Organization
                                               defendant)
                                          871 IRS-Third Party 26 USC 7609
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o    G. Habeas Corpus/                      o      H. Employment                           o     I. FOIA/Privacy Act                    o     J. Student Loan
        2255                                       Discrimination
     530 Habeas Corpus – General                   442 Civil Rights – Employment                 895 Freedom of Information Act               152 Recovery of Defaulted
     510 Motion/Vacate Sentence                        (criteria: race, gender/sex,              890 Other Statutory Actions                      Student Loan
     463 Habeas Corpus – Alien                         national origin,                              (if Privacy Act)                             (excluding veterans)
         Detainee                                      discrimination, disability, age,
                                                       religion, retaliation)

                                            *(If pro se, select this deck)*                 *(If pro se, select this deck)*

o    K. Labor/ERISA                         o      L. Other Civil Rights                   o     M. Contract                            o     N. Three-Judge
        (non-employment)                              (non-employment)                                                                        Court
                                                                                                 110 Insurance
     710 Fair Labor Standards Act                  441 Voting (if not Voting Rights              120 Marine                                   441 Civil Rights – Voting
     720 Labor/Mgmt. Relations                         Act)                                      130 Miller Act                                   (if Voting Rights Act)
     740 Labor Railway Act                         443 Housing/Accommodations                    140 Negotiable Instrument
     751 Family and Medical                        440 Other Civil Rights                        150 Recovery of Overpayment
         Leave Act                                 445 Americans w/Disabilities –                    & Enforcement of
     790 Other Labor Litigation                        Employment                                    Judgment
     791 Empl. Ret. Inc. Security Act              446 Americans w/Disabilities –                153 Recovery of Overpayment
                                                       Other                                         of Veteran’s Benefits
                                                   448 Education                                 160 Stockholder’s Suits
                                                                                                 190 Other Contracts
                                                                                                 195 Contract Product Liability
                                                                                                 196 Franchise


V. ORIGIN
o 1 Original         o 2 Remand           o 3 Remanded from o 4 Reinstated or o 5 Transferred from o 6 Multi-district o 7 Appeal to
      Proceeding           from State            Appellate Court              Reopened             another district              Litigation             District Judge
                           Court                                                                   (specify)                                            from Mag. Judge


VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
18 U.S.C. § 981(a)(1)(C)- civil forfeiture of property derived from proceeds of ITSP/stolen goods

VII. REQUESTED IN                         CHECK IF THIS IS A CLASS             DEMAND $                                       Check YES only if demanded in complaint
     COMPLAINT                            ACTION UNDER F.R.C.P. 23
                                                                                   JURY DEMAND:                               YES               NO      ✘
VIII. RELATED CASE(S)
      IF ANY
                                          (See instruction)
                                                                               YES                     NO     ✘               If yes, please complete related case form


           12/20/2018
DATE: _________________________                                                                      /s/Zia M. Faruqui
                                               SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                      of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.       CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                      under Section II.

           IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                      represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                      nature of suit found under the category of the case.

           VI.        CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                      the Clerk’s Office.

           Because of the need for accurate and complete information, you should endure the accuracy of the information provided prior to signing the form.
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                                :
c/o United States Attorney=s Office                      :
Judiciary Center Building                                :
555 4th Street, N.W.                                     :
Washington, D.C. 20530,                                  :
                                                         :
                       Plaintiff,                        :
       v.                                                :       Civil Action No. 18-3015
                                                         :
ONE PAINTING ENTITLED “SECRET                        :
DEPARTURE OF IVAN THE TERRIBLE                       :
BEFORE THE OPRICHINA,”                    :
                                          :
                  Defendant.              :
__________________________________________:

                             WARRANT FOR ARREST IN REM

TO: THE UNITED STATES MARSHAL=S SERVICE AND/OR ANY OTHER DULY
AUTHORIZED LAW ENFORCEMENT OFFICER:

        WHEREAS a Verified Complaint for Forfeiture In Rem has been filed in the United
States District Court for the District of Columbia, on the 20th day of December, 2018, alleging
that the defendant property is subject to seizure and forfeiture to the United States pursuant to 18
U.S.C. ' 981(a)(1)(C);

        YOU ARE, THEREFORE, HEREBY COMMANDED to serve the defendant property,
thus bringing, within the jurisdiction of the Court, the said defendant property, more fully
described as:

                     ONE PAINTING ENTITLED
  “SECRET DEPARTURE OF IVAN THE TERRIBLE BEFORE THE OPRICHINA,”


        YOU ARE FURTHER COMMANDED to provide notice of this action to all persons
thought to have an interest in or claim against the defendant property by serving upon such
persons a copy of this warrant and the Verified Complaint In Rem, in a manner consistent with
the principles of service of process of an action in rem under the Supplemental Rules for Certain
Admiralty and Maritime Claims and Asset Forfeiture Actions, and the Federal Rules of Civil
Procedure.


                                                 1
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       YOU ARE FURTHER COMMANDED, promptly after execution of this process, to file
the same in this Court with your return thereon, identifying the individuals upon whom copies
were served and the manner employed.


Dated: December ____, 2018
                                           ___________________________
                                           Clerk of the Court



                                    By:    ___________________________
                                           Deputy Clerk




                                              2
